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 2                                                             1/12/2021
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 8                      UNITED STATES DISTRICT COURT
 9        CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
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11                                 ) Case No.: SACV 16-01553-CJC(DFMx)
     VBS DISTRIBUTION, INC., and VBS
                                   )
     TELEVISION, INC.,             )
12
                                   )
13                                 )
              Plaintiffs,          )
14                                 )
         v.                        ) JUDGMENT
15                                 )
                                   )
     NUTRIVITA LABORATORIES, INC., )
16
     NUTRIVITA, INC., US DOCTORS’  )
17   CLINICAL, INC., ROBINSON      )
                                   )
     PHARMA, INC., KVLA, INC.,     )
18
     TUONG NGUYEN, TRAM HO, and    )
19   JENNY DO a/k/a NGOC NU,       )
                                   )
20                                 )
              Defendants.          )
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                                   )
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 1
           This matter came before the Court on Defendants’ motion for summary judgment.
 2
     In accordance with the Court’s Order, IT IS HEREBY ORDERED that judgment is
 3
     entered in favor of Defendant.
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 6     DATED: January 12, 2021
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 8
                                            HON. CORMAC J. CARNEY
 9

10                                       UNITED STATES DISTRICT JUDGE
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